                                   United States District Court
                                    Western District of Texas
                                        Austin Division

 United States of America,


     v.                                                         No. 1:21-CR-203-LY

 Ryan Taylor Faircloth,
    Defendant.

                          Opposition to Defendant’s Motion to Travel
   The government respectfully submits this memorandum in opposition to Defendant Ryan

Taylor Faircloth’s motion for permission to travel to Starkville, Mississippi from May 5, 2022 to

May 9, 2022. (Dkt. No. 42.)

                                           Background

   Over the government’s objection, Defendant was released on bond with strict conditions of

release that included GPS monitoring, a curfew, and no travel outside of Bexar County without

permission from the Court. He is currently set for sentencing on May 27, 2022. These

conditions were well-warranted by Defendant’s dangerous and violent conduct in this case. As

described in the plea agreement and the Presentence Investigation Report, Defendant threw a

Molotov cocktail into the offices of the Travis County Democratic Party in the early morning

hours of September 29, 2021. He assembled the device using readily available materials, drove

to the party offices, and attacked the premises three times shortly after 2 am. On the first

occasion, he threw a rock at the door, breaking the glass. A few minutes later, he dropped the

Molotov cocktail plus a lit smoke bomb firecracker into the building. And a few minutes after

that, he again went to the door to throw what he described as an “artillery shell” firecracker close

to the Molotov cocktail, which caused the gasoline to ignite and start a fire. As soon as he threw

the “artillery shell” firecracker, he ran from the door of the building. Defendant did not burn

down the party office or building only because a nearby Good Samaritan put out the fire.

   His crime was ideologically motivated and calculated to send a message. He left a note

warning that his attack was a “light warning.” He later told investigators that he targeted the
political party offices because he opposed current government policies (and positions he believed

to have been taken by the Democratic Party). He expected that his actions would inspire others

to similarly “retaliate.”

                                         Travel Requests

    This is Defendant’s fourth formal or informal travel request. In late October or November

and again in mid-December 2021, Defendant (from address “Boozers Tx <ryan***

@gmail.com>” 1) sent an email to United States Magistrate Judge Susan Hightower’s deputy

(apparently without his counsel’s knowledge) casually requesting permission to move back to

Austin. Ex. A. The request showed no appreciation of the great fear he instilled in the victims—

leaders and workers at the Travis County Democratic Party—whose offices he firebombed with

no warning in the dead of night. The request was self-centered and gave short shrift to Judge

Hightower’s significant concerns about the safety of the community in setting bond conditions

with strict travel restrictions. That Defendant sought effectively to overturn the conditions

within days or weeks of his release displayed his failure to understand the nature and

circumstances of his offense and its impact on the community. Counsel quickly clarified that he

would be filing no motions to modify the conditions of release.

    Then in early March 2022, defense counsel contacted the government and Pre-Trial Services

with notice that Defendant had requested a motion for permission to travel to Las Vegas from

March 15, 2022 to March 18, 2022. Defendant wanted to get one personal trip in before facing a

five-year mandatory minimum sentence. The request again evinced little to no understanding by

Defendant of the gravity and seriousness of his crime. Faced with opposition from Pre-Trial

Services and the government, Defendant did not file a motion.

    A few days later, Defendant requested permission to travel to Houston and Galveston with

his family from March 18, 2022 to March 23, 2022. Pre-Trial Services agreed to the request

only after ensuring that Defendant would reside in one location due to GPS monitoring and the


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    The government has anonymized Defendant’s full email address to protect his privacy.


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curfew. Pre-Trial Services also informed the government that it would be possible to closely

monitor Defendant’s movements in conjunction with the Pre-Trial Services office in the Southern

District of Texas to ensure that he did not deviate from his course. With these restrictions and

assurances, the government took no position on the request and Defendant was allowed to travel

to Houston. (Dkt. No. 40.)

   Now, he seeks permission to travel out-of-state over the opposition of Pre-Trial Services.

The government has consulted the supervising Pre-Trial Services officer. The officer has

informed the government that out-of-state travel with GPS monitoring and a curfew will pose

significant logistical challenges for Pre-Trial Services. The Houston trip was approved because

it was tightly controlled and Pre-Trial Services officers in this district were able to work closely

with colleagues in the neighboring district. Out-of-state coordination and supervision, however,

is more difficult and Pre-Trial Services routinely opposes such requests. Pre-Trial Services is

concerned about its response time to any emergent issue with Defendant. The government joins

Pre-Trial Services’ opposition and adds that this fourth request flies in the face of the strict travel

restrictions imposed by Judge Hightower. Defendant faces sentencing—and a five-year

mandatory minimum term of imprisonment—in approximately a month. He clearly wishes to

take full advantage of his current freedom and push the limits of what Pre-Trial Services and this
Court will approve. His incentives to flee prior to sentencing are at their height. To the extent

Pre-Trial Services identifies any challenges or difficulties in supervising him while traveling out-

of-state, the Court should enforce the current conditions of release by denying the motion to

ensure Defendant appears in Court to face justice and to protect the public.




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                                         Conclusion

   For these reasons, the Court should deny Defendant’s motion to travel.

                                               Respectfully submitted,

                                               Ashley C. Hoff
                                               United States Attorney

                                         By:   /s/ G. Karthik Srinivasan
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                                      Certificate of Service

    I certify that on April 25, 2022, I electronically filed this document with the Clerk of Court
using the CM/ECF system.

   ☐ The CM/ECF system will send notification to the following CM/ECF participant(s):

                           Shawn Brown, Esq. (counsel for Defendant)


                                                       /s/ G. Karthik Srinivasan
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                                                       Assistant United States Attorney




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